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                              UNITED STATES BANKRUPTCY COURT
                               NORTHERN DISTRICT OF GEORGIA
                                      ATLANTA DIVISION


 IN RE:                               :                       CASE NO. 09-61855-BEM
                                      :
 TODD ANTHONY SHAW,                   :                       CHAPTER 7
                                      :
       Debtor.                        :
 ____________________________________ :


                MOTION FOR AUTHORITY TO MAKE INTERIM DISTRIBUTION

           COMES NOW S. Gregory Hays, Chapter 7 trustee (“Trustee”) for the bankruptcy estate

 (the “Bankruptcy Estate”) of Todd Anthony Shaw (“Debtor”), by and through undersigned

 counsel, and files this Motion for Authority to Make Interim Distribution (“Distribution

 Motion”). In support of the Distribution Motion, Trustee shows as follows:

                                      Jurisdiction and Venue

           1.     This Bankruptcy Court has jurisdiction to hear this Distribution Motion under 28

 U.S.C. §§ 157 and 1334. This Distribution Motion presents a core proceeding within the

 meaning of 28 U.S.C. § 157(b)(2). Venue is proper before this Bankruptcy Court under 28

 U.S.C. §§ 1408 and 1409.

                                            Background

           2.     On January 26, 2009, (the “Petition Date”), Debtor and filed a voluntary petition

 under Chapter 7 of Title 11 of the United States Code (the “Bankruptcy Code”) in the United

 States Bankruptcy Court, Northern District of Georgia, Atlanta Division (the “Bankruptcy

 Court”), initiating Bankruptcy Case No. 09-61855-BEM (the “Bankruptcy Case”).

           3.     Trustee is the duly authorized and acting Chapter 7 Trustee for the Bankruptcy

 Estate.


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          4.    Debtor filed this Bankruptcy Case as a no-asset case. [Doc. No. 1 at Page 1].

          5.    Nevertheless, the Trustee is currently holding $460,195.60 in the Bankruptcy

 Estate’s bank account. The estate funds resulted from a November 24, 2009 stipulation between

 the Trustee and Zomba Recordings LLC (“Zomba”) [Doc. No. 62] to split the continuing music

 royalties (“Royalties”) owed to the Debtor with 20% being paid to the Bankruptcy Estate and

 80% being paid to Zomba until Zomba's secured claim was satisfied. Due to the 2016 sampling

 of a Bankruptcy Estate composition resulting in a considerable increase in Royalties, the Zomba

 loan was satisfied in early 2019. The Trustee intends to locate a purchaser for the bankruptcy

 estate’s rights in the pre-petition compositions and future royalty payments.

          6.    To date, Trustee has recovered a total of $559,435.36 from the Bankruptcy

 Estate’s share of the Royalties and has paid administrative expenses totaling $99,239.76 relating

 to costs associated with the maintenance and insurance on the Debtor’s primary residence while

 listed for sale by the Trustee, bank and technology fees, and federal and state income taxes on

 royalty income.

          7.    The deadline for all creditors to file proofs of claim was March 9, 2010. [Doc. No.

 69].

                                          Relief Requested

          8.       Trustee requests authority from the Bankruptcy Court to pay, through an interim

 distribution, 100% distribution to allowed, secured claimants, a 100% distribution to allowed,

 priority claimants and a 3.0% initial distribution to timely filed, allowed, general unsecured

 claimants. All claim issues have been resolved and appropriate reserves have been made for fees

 and expenses associated with the final administration of the bankruptcy case. Attached hereto




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 and incorporated herein by reference as Exhibit “A” is a detailed listing of the proposed

 distributions to creditors (the “Interim Distribution Analysis”).

                                         Basis for Relief

          9.    Contemporaneously with this Distribution Motion, Trustee and the professionals

 employed in this Bankruptcy Case will file interim applications for compensation. In the interim

 application of Trustee, Trustee is requesting approval of $21,070.18 in interim compensation and

 $1,485.51 in reimbursement of expenses. The requested compensation of $21,070.18 represents

 the statutory allowance of compensation pursuant to 11 U.S.C. § 326 based on the distributions

 to date plus the proposed interim distributions of $257,163.82 (which includes proposed

 payments for interim fee applications of professionals—discussed below). Trustee is requesting

 authority from the Court to pay 100% of his requested interim compensation and 100% of his

 expenses for a total of $22,555.69.

          10.   In the interim application of Hays Financial Consulting, LLC (“HFC”), as

 accountants for Trustee, HFC is requesting approval of $52,639.00 in interim compensation and

 $5,829.66 in reimbursement of expenses. HFC is requesting authority from the Bankruptcy

 Court for Trustee to pay 100% of its requested interim compensation and 100% of its expenses

 for a total of $58,468.66.

          11.   In the interim application of Arnall Golden Gregory LLP (“AGG”), as attorneys

 for Trustee, AGG is requesting approval of $63,871.50 in interim compensation and $154.78 in

 reimbursement of expenses. AGG is requesting authority from the Bankruptcy Court for Trustee

 to pay 100% of its requested interim compensation and 100% of its expenses for a total of

 $64,026.28.




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          12.    Unpaid allowed secured and priority claims total $70,716.62, as set forth on

 Exhibit “A.” Trustee proposes to make an interim distribution of $70,716.62 (or a 100.00%

 payment) to holders of timely filed priority and secured claims.

          13.    Allowed general unsecured claims total $1,379,885.56, as set forth on Exhibit

 “A.” Trustee proposes to make an interim distribution of $41,396.57 (or a 3.00% payment) to

 holders of timely filed, allowed, general unsecured claims.

          14.    The remaining funds for the Reserve and additional administrative expense claims

 and the remaining, allowed, general unsecured claims will be approximately $200,000.00.1

          WHEREFORE, Trustee respectfully requests that the Bankruptcy Court (i) grant this

 Distribution Motion, (ii) authorize an interim distribution in this Bankruptcy Case on approved

 claims based on the attached Interim Distribution Analysis, and (iii) grant such other and further

 relief as the Court may deem just and proper.

          Respectfully submitted this 13th day of November, 2019.

                                                          ARNALL GOLDEN GREGORY LLP
                                                          Attorneys for Trustee

                                                          By: /s/ Michael J. Bargar
 171 17th Street, NW, Suite 2100                             Michael J. Bargar
 Atlanta, Georgia 30363                                      Georgia Bar No. 645709
 (404) 873-7030                                              michael.bargar@agg.com
 (404) 873-7031 (facsimile)




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          Trustee is holding back approximately $173,000.00 of these funds until he is able to confirm their
 source. Once he completes his investigation in this regard, Trustee anticipates making another interim
 distribution or closing the case and making final distributions, depending on the status of other
 outstanding issues in this matter.

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                              EXHIBIT “A” FOLLOWS




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Cash in Bank (11/12/19)                                                                        $460,195.60
Funds Reserved Pending Confirmation of Underlying Royalty Source                              ($173,440.04)
Funds Available for Distribution                                                               $286,755.56

Administrative Claims (Pending Fee Applications)                                 Claim     Proposed Payment
     HFC                             Fees & Expenses                            $58,468.66      $58,468.66
     AGG                             Fees & Expenses                            $64,026.28      $64,026.28
     Trustee                         Commission & Expenses                      $22,555.69      $22,555.69
                                                                               $145,050.63     $145,050.63
Secured and Priority Claims
      Zomba Recording LLC              POC 2 - Paid in Full                    $443,857.62           $0.00
      Internal Revenue Service         POC 3P Priority Claim                    $34,604.28      $34,604.28    100.0%
      Georgia Dept of Revenue          POC 5-2 Secured Claim                    $36,112.34      $36,112.34    100.0%
                                                                               $514,574.24      $70,716.62
Unsecured Claims
      Fulton County Tax                POC # 1 - Withdrawn (Dkt#155)                  $0.00          $0.00     0.0%
      Internal Revenue Service         POC # 3Ua                              $1,284,229.62     $38,526.89     3.0%
      Keenan Wilkins                   POC # 4&7 - Disallowed (Dkt # 164&165)         $0.00          $0.00     0.0%
      Ronnie Jackson, Jr.              POC # 6-3                                 $95,655.94      $2,869.68     3.0%
                                                                              $1,379,885.56     $41,396.57

Tardily Filed Unsecured Claims §726(a)(3)
       Santander Consumer USA Inc. POC # 8                                       $8,941.03           $0.00

Fines, Penalties Claims §726(a)(4)
       Internal Revenue Service        POC 3Ub Penalties                       $788,809.12           $0.00

Total Interim Distributions                                                                    $257,163.82

Funds Remaining in Bankruptcy Estate                                                            $29,591.74
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                                CERTIFICATE OF SERVICE

        This is to certify that on November 13, 2019, the undersigned caused to be served a true
 and correct copy of the forgoing Motion for Authority to Make Interim Distribution by depositing
 copies of same into the United States mail on the date set forth above, with adequate postage
 affixed thereto to assure delivery by regular first class mail to the following entities at the
 addresses stated:


 Office of the U.S. Trustee                         Todd Anthony Shaw
 362 Richard B. Russell Federal Building            1010 Forest Overlook Drive
 75 Ted Turner Drive SW                             Atlanta, GA 30331
 Atlanta, GA 30303
                                                    Montie Day
 S. Gregory Hays                                    Day Law Offices
 Hays Financial Consulting, LLC                     P.O. Box 1525
 Suite 555                                          Williams, CA 95987
 2964 Peachtree Road NW
 Atlanta, GA 30305-2153




          This 13th day of November, 2019.

                                             By:/s/ Michael J. Bargar
                                                Michael J. Bargar
                                                Georgia Bar No. 645709




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